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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

Case No. 8:21-cv-01737-CJC-KES Date December 07, 2021

 

 

Title Linda L. Ahlert v. Astoria Acquisitions

 

Present: The Honorable CORMAC J. CARNEY, UNITED STATES DISTRICT COURT JUDGE

 

 

 

 

Elsa Vargas for Rolls Royce Paschal None Reported
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
VOLUNTARY DISMISSAL

The Court, having been advised by the Plaintiffs that this action has been resolved by a
Notice of Voluntary Dismissal [14], hereby orders this action dismissed without prejudice. The
Court hereby orders all proceedings in the case vacated and taken off calendar.

 

Initials of Deputy Clerk = eva/rrp

 

 

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